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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                 §
In re:                                                           §
                                                                 §     Joint Administration Requested
DAY ONE DISTRIBUTION LLC, et al.                                 §
                                                                 §     Under Case No. (24-31133-11)
                                                    1
                                             Debtors.            §         (Subchapter V)

                                                        EMERGENCY
                              MOTION (I) FOR INTERIM AUTHORITY TO
                             USE CASH UNDER 11 U.S.C. §363 AND §105 AND
                                 (II) REQUEST FOR A FINAL HEARING

******************************************************************************
THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 14 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AND DECIDE THE MOTION AT THE
HEARING OR MAY DECIDE THE MOTION WITHOUT HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

** EMERGENCY CONSIDERATION HAS BEEN REQUESTED. YOU WILL HAVE
LESS THAN 14 DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF
OR IF YOU BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT
WARRANTED; YOU SHOULD FILE AN IMMEDIATE RESPONSE OR APPEAR AT
THE SCHEDULED HEARING.**

TO THE HONORABLE EDUARDO V. RODRIGUEZ
CHIEF UNITED STATES BANKRUPTCY JUDGE:



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
are Day One Distribution, LLC (1125), Case No. 24-31133 and Zero Day Nutrition Company f/k/a GB Nutrition
Company (7108), Case No. 24-31134. The location of the Debtors’ service address is 12502 Exchange Dr., Suite 448,
Stafford, TX 77477.


Motion to Authorize Use of Cash Collateral
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       Day One Distribution LLC (“DOD Debtor”) and Zero Day Nutrition Company (“ZD

Debtor”) (collectively “Debtors”), debtors and debtors in possession, file this Emergency Motion

(I) for Order Granting Interim Authority to Use Cash Collateral Under 11 U.S.C. §363 and

§105 and (II) Request for a Final Hearing (the "Motion") and in support thereof, respectfully

states as follows:

                                    Summary and Emergency Basis

       1.      Debtors each filed a Subchapter V, Chapter 11 case on March 14, 2024.

       2.      Debtors hereby seek authorization to use cash collateral on an interim basis.

Without such relief, Debtors will suffer immediate and irreparable harm because Debtors would

be required to cease operations immediately, and Debtors ability to reorganize would be

eliminated. Upon approval of this Motion, secured lenders with valid, perfected liens will be given

replacement liens on post-petition receivables for use of its cash collateral, to the extent of

diminution of its collateral, in accordance with the proposed budgets attached hereto as Exhibits

“A1” and “A2”.

       3.      Debtors anticipate obtaining consent of the necessary secured lenders to the relief

requested herein. A proposed interim Order is attached hereto.

                                    I. Jurisdiction and Venue

       4.      This Court has jurisdiction over these cases pursuant to 28 U.S.C. § 1334. This is

a core proceeding under 28 U.S.C. § 157(b)(2)(D).

       5.      Venue of the Debtors’ Chapter 11 cases is proper in this district pursuant to 28

U.S.C. §§ 1409.




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                                 II.     Background Information

               A. Overview of the Debtor

       6.      On March 14, 2024 (the “Petition Date”), Debtors each commenced a bankruptcy

case by filing a petition for relief under Subchapter V of Chapter 11 of the Bankruptcy Code under

Case No. 24-31133 and Case No. 24-31134 (collectively “Bankruptcy Cases”).

       7.      Debtors continue to operate their businesses and manage property as debtors and

debtors in possession pursuant to Bankruptcy Code sections 1184.

       8.      A Subchapter V Trustee has not yet been appointed.

       9.      DOD Debtor is a Texas limited liability company and ZD Debtor is a Texas

corporation. Debtors are engaged in the manufacturing and sale of sports nutrition and dietary

supplements. ZD Debtor manufactures products which are sold by DOD Debtor, as well as third

parties. The companies share offices in Stafford, Texas where the manufacturing facility is also

located. The entities share common ownership. Additional information regarding the companies

can be found in the Declaration of Michael Bischoff in Support of Debtors’ Chapter 11

Proceedings and First Day Pleadings filed contemporaneous with this motion.

       10.     Debtors initiated the Bankruptcy Cases due to a serious cash flow problem created

by significant daily deductions from various MCA Lenders. Prepetition MCA Lenders require

daily withdrawals from the bank accounts of DOD Debtor and ZD Debtor. The aggregate amount

of the monthly withdrawals increased over time to more than $300,000, which greatly exceeded

the Debtors’ capacity and created significant cash flow issues. The company soon became unable

to pay its ongoing expenses.

       11.     Additionally, several of the MCA Lenders recently contacted some customers of

Debtors, instructing that payments be diverted from Debtors directly to the MCA Lenders. These




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actions have left the company with very little cash for operations, thereby prompting these Chapter

11 bankruptcy filings.

         12.      Debtors intend to utilize these Chapter 11 cases to streamline operations and

reorganize prepetition debt through a Chapter 11 plan. Absent Chapter 11 restructuring, the

company is likely to cease operations and liquidate.

                  B. Financing History for Day One Distribution LLC

                           a. Parties Asserting Secured Liens Against Cash Collateral2

         13.      On or about August 28, 2020, DOD Debtor entered into a Loan Authorization and

Agreement and related documents with U.S. Small Business Administration whereby this lender

provided a loan of $52,400 (“SBA Loan”). The SBA Loan is secured by a first lien3 on

substantially all assets of DOD Debtor, including, but not limited to, accounts and accounts

receivable. As of the Petition Date, the outstanding balance owed with respect to SBA Loan is

approximately $56,395.

         14.      Further, on or about September 27, 2022, DOD Debtor entered into a Growth Line

of Credit Agreement with Ampla LLC, with the highest outstanding balance being $1,414,366

(“Ampla Loan”). Ampla Loan is secured by a second lien4 on all assets of DOD Debtor. As of the

Petition Date, the outstanding balance owed with respect to Ampla Loan is approximately

$637,620.

         15.      Additionally, in May 2023, DOD Debtor entered into a three agreements with

Ouiby Inc., with the original aggregate balance of approximately $841,646 (“Ouiby




2
  The lienholders listed in this motion have filed UCC-1 statements with the Texas Secretary of State records
asserting liens. By including the same herein, DOD Debtor does not waive its right to dispute any lien asserted by
any alleged lienholder.
3
  Pursuant to Texas Secretary of State records, UCC 1 filed on September 6, 2020.
4
  Pursuant to Texas Secretary of State records, UCC 1 filed on September 28, 2022.


                                                         4
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Agreements”). The Ouiby Agreements were each originally secured by liens5 on specific

consigned inventory of DOD Debtor. However, on February 16, 2024, Quiby Inc. filed an amended

UCC-1 to assert a lien on all of DOD Debtor’s assets with respect to one of the agreements,

whereby one is secured by lien on all assets. As of the Petition Date, the collective outstanding

balance owed with respect to the Ouiby Agreements is approximately $376,392.

        16.       Moreover, on or about October 30, 2023, DOD Debtor entered into a Standard

Merchant Cash Advance Agreement with 3PCG Inc., with the original balance of $149,900

(“3PCG Agreement”). 3PCG Agreement is secured by a lien6 on all assets of DOD Debtor,

including, but not limited to, deposit accounts. As of the Petition Date, the outstanding owed with

respect to 3PCG Agreement is approximately $114,629.

        17.       Additionally, on or about October 6, 2023, DOD Debtor entered into a Merchant

Agreement with CFS CAP, LLC, with the original balance of $150,000 (“CFS Agreement”). CFS

Agreement is secured by a lien7 on all assets of DOD Debtor, including, but not limited to, proceeds

of each sale. As of the Petition Date, the outstanding balance owed with respect to CFS Agreement

is $157,368.

                          b. UCC-1 – still being investigated

        18.       On May 12, 2022 and January 2, 2024, separate UCC-1’s were filed with the Texas

Secretary of State by Corporate System, as representative, asserting a lien on all assets of DOD

Debtor. As of the Petition Date, DOD Debtor has been unable to determine what loan these may

relate to and is continuing to investigate this matter.




5
  Pursuant to Texas Secretary of State records, three UCC 1 were filed on each agreement, on June 8, 2023; June 8,
2023; and June 23, 2023.
6
  Pursuant to Texas Secretary of State records, UCC 1 filed on December 22, 2023.
7
  Pursuant to Texas Secretary of State records, UCC 1 filed on January 12, 2024.


                                                        5
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                  C. Financing History for Zero Day Nutrition Company

                           a. Parties Asserting Secured Liens Against Cash Collateral8

         19.      On or about December 19, 2018, ZD Debtor9 entered into a Loan Agreement and

related documents with Texas Gulf Bank whereby this lender provided a loan in the amount of

$1.5 million (“Texas Gulf Bank Loan”). The Texas Gulf Bank Loan is secured by a lien10 on

substantially all assets of ZD Debtor, including cash, accounts, and accounts receivable. As of the

Petition Date, the outstanding balance owed with respect to Texas Gulf Bank Loan is

approximately $908,153.74.

         20.      Further, on or about August 6, 2020, ZD Debtor entered into a Loan Authorization

and Agreement with the U.S. Small Business Administration whereby this lender provided a loan

in the amount of $150,000 (“ZD SBA Loan”). The ZD SBA Loan is secured by a lien11 on

substantially all assets of ZD Debtor, including inventory, equipment, and accounts. As of the

Petition Date, the outstanding balance owed with respect to ZD SBA Loan is approximately

$161,059.

         21.      Moreover, on or about October 30, 2023, ZD Debtor entered into a Standard

Merchant Cash Advance Agreement with 3PCG Inc., with the original balance of $149,900

(“3PCG Agreement”). 3PCG Agreement asserts a lien12 on all assets of ZD Debtor, including,

but not limited to, deposit accounts. As of the Petition Date, the outstanding owed with respect to

3PCG Agreement is approximately $114,629.


8
  The lienholders listed in this motion have filed UCC-1 statements with the Texas Secretary of State records asserting
liens. By including the same herein, ZD Debtor does not waive its right to dispute any lien asserted by any alleged
lienholder.
9
  Texas Gulf Bank Loan was initially between GB Nutrition Company, the name formerly used by ZD Debtor. Texas
Gulf Bank Loan updated its UCC Lien with to change the name on January 17, 2020, according to the Texas Secretary
of State records.
10
   Pursuant to Texas Secretary of State records, UCC 1 filed on January 10, 2019.
11
   Pursuant to Texas Secretary of State records, UCC 1 filed on August 15, 2020.
12
   Pursuant to Texas Secretary of State records, UCC 1 filed on December 22, 2023.


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           22.       Finally, on or about October 6, 2023, ZD Debtor entered into a Merchant

Agreement with CFS CAP, LLC, with the original balance of $150,000 (“CFS Agreement”). CFS

Agreement asserts a lien13 on all assets of ZD Debtor. As of the Petition Date, the outstanding

balance owed with respect to CFS Agreement is $157,368.

           23.       A UCC-1 dated February 24, 2022, was filed by Leaf Capital Funding LLC

asserting a lien on substantially all assets of ZD Debtor. However, ZD Debtor’s records indicate

that the loan subject to this UCC-1 has been paid in full and the UCC-1 should be terminated.

                             b. UCC-1– still being investigated

           24.       On May 12, 2022 and January 2, 2024, separate UCC-1’s were filed with the Texas

Secretary of State by Corporate System, as representative, asserting a lien on all assets of ZD

Debtor. As of the Petition Date, ZD Debtor has been unable to determine what loan these may

relate to and is continuing to investigate this matter.

                                  III. BASIS FOR REQUESTED RELIEF

           A.       Cash Collateral and Authority to Use

           25.       Debtors hereby seek authority to use the cash Collateral in connection with this

bankruptcy cases to preserve the value of Debtors’ businesses. A proposed 14-day budget is

attached hereto as Exhibit “A-1” (“DOD Debtor’s Interim Budget”) and Exhibit “A-2” (“ZD

Debtor’s Interim Budget”). Although the secured lenders for both DOD Debtor and ZD Debtor

have not yet agreed to the use of cash collateral or the proposed interim budgets, Debtors expect

that an agreement will be reached.

           26.       Pursuant to the Bankruptcy Code, Debtors are required to provide adequate

protection to the secured lenders with respect to use of cash collateral. While the terms of an



13
     Pursuant to Texas Secretary of State records, UCC 1 filed on January 12, 2024.


                                                           7
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agreed order have not been finalized, Debtors expect that an agreed order will include, among

others, the following:

        A.     Debtors may use cash Collateral pursuant to an approved budget,
        with a 10% variance per line item and the ability to apply any un-used
        budgeted funds at its discretion.

        B.     Prepetition liens of secured lenders will be adequately protected by
        replacement liens to the same extent and priority as its prepetition liens to
        the extent that cash collateral is used.

        27.     The only viable source of funding for post-petition operations is cash collateral

made available to Debtors.

        28.     Without the use of cash collateral on an interim basis, Debtors would suffer

immediate and irreparable harm pending a final hearing on the Motion.

        29.     The importance in cases like these of access to cash was recognized in In re George

Ruggieri Chrysler-Plymouth, Inc., 727 F.2d 1017 (11th Cir. 1984). The court in that case noted:

“A debtor, attempting to reorganize in business under Chapter 11, clearly has a compelling need

to use ‘cash collateral’ in its effort to rebuild.” Id. at 1019. 31. Debtors anticipate that valid secured

lenders will consent to the proposed use of cash Collateral, subject to receiving replacement liens

and perhaps other protections as provided in an agreed order. To the extent they do not consent,

however, the Court may authorize the use of cash collateral by Debtors provided that the Court

determines that any objecting entity’s interest is adequately protected. 11 U.S.C. § 363(c)(2)(B)

and (e).

        30.     Section 361 sets forth three non-exclusive examples of what may constitute

adequate protection. They include providing the secured creditor with “additional or replacement

liens” and other relief that provides the secured creditor with the “indubitable equivalent” of the




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secured creditor’s interest in the cash collateral. Legislative history indicates that Congress

intended to provide courts with flexibility to grant relief on a case-by-case basis.

        31.     Pursuant to the Motion, Debtors propose to grant secured lenders replacement liens

on post-petition accounts receivable, a recognized method for providing adequate protection as

specified under sections 361 and 363.

        32.     In exchange for the use of cash collateral, as adequate protection for the use of the

cash Collateral, but only to the extent of the actual diminution in value of the pre-petition collateral,

Debtors propose to grant to secured lenders replacement liens in the form of security interests and

liens upon the same types and kinds of assets upon which they held a prepetition lien, subject only

to valid, perfected, and enforceable prepetition liens (if any) which are senior as of the Petition

Date, as well as an additional lien upon the Debtors’ post-petition accounts and accounts

receivables. The grant of replacement liens will only apply to the extent that the pre-petition

collateral was encumbered by valid and perfected liens and security interests (collectively, the

"Replacement Liens"). The Replacement Liens will not attach to any avoidance actions under

Chapter 5 of the Bankruptcy Code.

        33.     Without access to cash collateral, the value of the Debtors’ assets will plummet.

From that standpoint, the overall collateral position of the secured lenders will deteriorate

markedly, more than offsetting any erosion of the cash collateral.

        34.     Bankruptcy Rule 4001(c)(2) states that 14 days’ notice must be given before final

approval of such cash Collateral use is given. With this Motion, Debtors are providing secured

lenders with 14 days’ notice between the time of the filing of this Motion and request that the

Court set a final hearing on this matter upon expiration of the 14 day notice period, or as soon

thereafter as is practical. Debtors will suffer irreparable harm if the Motion is not immediately




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considered as they do not have the funds to continue operations. There is little harm to general

unsecured creditors under this agreement since the secured lenders already have liens on Debtors’

accounts, chattel paper, deposit accounts, letter of credit rights, general intangibles and inventory,

including accounts receivable and cash.

       35.      Debtors request that this Court enter the preliminary order attached hereto; set a

final hearing on this Motion pursuant to Bankruptcy Rule 4001 if objections are filed, and at such

hearing, authorize Debtors to continue using its cash Collateral for the remainder of these Chapter

11 cases.

                                          IV. Conclusion

       WHEREFORE, Debtors respectfully request that the Bankruptcy Court:

       1)      Enter a preliminary order authorizing the use of cash collateral pursuant to the
               proposed budgets for 14 days;

       2)      Set a final hearing on this Motion after expiration of fourteen (14) days’ notice
               period required by Bankruptcy Rule 4001, or as soon thereafter as practical, if
               objections are filed;

       3)      At such final hearing, granting Debtors the authority to continue the use of cash
               collateral until a plan is confirmed in this case or the case is dismissed, whichever
               happens earlier; and

       4)      Granting all such other and further relief as is just and proper.




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DATED: March 14, 2024            Respectfully submitted,

                                 HASELDEN FARROW PLLC

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                         EXHIBIT “A-1”




                 DAY ONE DISTRIBUTION LLC
                  PROPOSED 14-DAY BUDGET




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                                                                                                                                      Day One Distribution

                                                                                                                              Cash flow forecast

Week                                                                 1                            2

                                                                         3/12/2024                3/19/2024           3/26/2024


Cash Frozen Beg                                                  $                   40,712   $           -       $           -


Cash on hand Beg                                                 $                   4,950    $           -       $           -


Cash on hand (beginning of month) Total                          $                   45,662   $         50,153    $         50,123




Cash receipts

Direct Sales (Shopify, Amazon)                                   $                   11,000   $         11,000    $         11,000

Wholesale Deposit or PiF                                         $                   11,000   $         11,000    $         11,000

AR Collections                                                   $                      -     $               -   $               -

Loan                                                             $                      -     $               -   $               -

Equity Injection                                                 $                      -     $               -   $               -

Other                                                            $                      -     $               -   $               -

                                                                 $                      -     $               -   $               -

                                           Total cash receipts   $                   22,000   $         22,000    $         22,000


                                          Total cash available   $                   67,662   $         72,153    $         72,123




Cash paid out

COGS Postage, Shipping, Freight Cost                             $                    1,500   $          2,500    $          2,500

COGS Production Labor                                            $                      -     $               -   $               -

COGS Product                                                     $                      -     $               -   $               -

Personnel                                                        $                   10,122   $          6,854    $          6,854

Contractors and Consultants                                      $                    5,887   $          5,887    $          5,887

Facilities - Rent                                                $                      -     $               -   $               -

Facilities - Cleaning & Contract Services                        $                      -     $               -   $               -

Facilties - Repairs and Maintenance                              $                      -     $               -   $               -

Utilities - Fire Alarm                                           $                      -     $               -   $               -

Utilities - Trash and Recycling                                  $                      -     $               -   $          1,059

Utilities - Alarm Service                                        $                      -     $               -   $               -

Utilities - Utilities/Electric Services                          $                      -     $               -   $               -

Warehouse - Rental Equipment                                     $                      -     $               -   $               -

Warehouse - Warehouse supplies                                   $                      -     $               -   $               -

Marketing - Advertising and Promotion                            $                      -     $               -   $               -

Marketing - Marketing                                            $                      -     $               -   $               -

Administrative                                                   $                      -     $               -   $               -

Bank/Credit Card/Merchant Gees                                   $                      -     $               -   $           220

Automobile Expense                                               $                      -     $           434     $               -

Computer and Internet Expenses                                   $                      -     $          6,356    $          2,381

Dues and Subscriptions                                           $                      -     $               -   $               -

Office Supplies                                                  $                      -     $               -   $               -

Research and Development                                         $                      -     $               -   $               -

Taxes                                                            $                      -     $               -   $               -

Telephone Expense                                                $                      -     $               -   $               -

Professional Fees

Travel and Entertainment                                         $                      -     $               -   $               -

                                                                 $                      -     $               -   $               -

                                                     Subtotal    $                   17,509   $         22,031    $         18,901


                                   Cash on hand (end of week)    $                   50,153   $         50,123    $         53,222
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                         EXHIBIT “A-2”




               ZERO DAY NUTRITION COMPANY
                 PROPOSED 14-DAY BUDGET




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                                                                                                                                                 Zero Day

                                                                                                                                    Cash flow forecast

Week                                                                 1                             2                        3

                                                                         3/12/2024                 3/19/2024                3/26/2024                       Jan 1900


Cash Frozen Beg                                                  $                    18,100   $           -            $           -


Cash on hand Beg                                                 $                    18,549   $           -            $           -


Cash on hand (beginning of month)                                $                   36,649    $        129,631         $        130,515




Cash receipts

Direct Sales (Shopify, Amazon)                                   $                       -     $               -        $               -

Wholesale Deposit or PiF                                         $                   141,125   $         28,748         $          7,000

AR Collections                                                   $                       -     $               -        $               -

Loan                                                             $                       -     $               -        $               -

Equity Injection                                                 $                       -     $               -        $               -

Other                                                            $                       -     $               -        $               -

                                                                 $                       -     $               -        $               -

                                           Total cash receipts   $                   141,125   $         28,748         $          7,000


                                          Total cash available   $                   177,774   $       158,379          $       137,515




Cash paid out

COGS Postage, Shipping, Freight Cost                             $                     4,226   $          3,500         $           122

COGS Production Labor                                            $                     9,963   $          9,963         $          9,963

COGS Product                                                     $                    23,000   $               -        $               -

Personnel                                                        $                    10,318   $         12,818         $         12,818

Facilities - Rent                                                $                       -     $               -        $               -

Facilities - Cleaning & Contract Services                        $                       -     $               -        $               -

Facilties - Repairs and Maintenance                              $                       -     $           749          $               -

Utilities - Fire Alarm                                           $                       -     $                   70   $               -

Utilities - Trash and Recycling                                  $                       -     $               -        $          1,900

Utilities - Alarm Service                                        $                       -     $                   32   $                   49

Utilities - Utilities/Electric Services                          $                       -     $               -        $               -

Warehouse - Rental Equipment                                     $                      636    $               -        $               -

Warehouse - Warehouse supplies                                   $                       -     $               -        $               -

Marketing - Advertising and Promotion                            $                       -     $               -        $           477

Marketing - Marketing                                            $                       -     $               -        $                   18

Administrative                                                   $                       -     $               -        $                   40

Bank/Credit Card/Merchant Gees                                   $                       -     $               -        $               -

Automobile Expense                                               $                       -     $               -        $               -

Computer and Internet Expenses                                   $                       -     $           731          $           294

Dues and Subscriptions                                           $                       -     $               -        $               -

Office Supplies                                                  $                       -     $               -        $               -

Research and Development                                         $                       -     $               -        $           128

Taxes                                                            $                       -     $               -        $               -

Telephone Expense                                                $                       -     $               -        $           375

Professional Fees                                                $                       -     $               -        $               -

Travel and Entertainment                                         $                       -     $               -        $               -

                                                                 $                       -     $               -        $               -

                                                     Subtotal    $                    48,143   $         27,864         $         26,184




                                  Cash on hand (end of Week)     $                   129,631   $       130,515          $       111,331
